           Case 5:14-cv-00087-EJD Document 77 Filed 04/30/15 Page 1 of 2




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 4
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 5

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 7
                                      UNITED STATES DISTRICT COURT
 8
                                 NORTHERN DISTRICT OF CALIFORNIA
 9
                                            SAN JOSE DIVISION
10
     PETE MORICI, an individual,                      Case No. 5:14-cv-00087-EJD
11
                         Plaintiff,                   DECLARATION OF ROBERT SMITH OF
12          v.                                        UNIQUIFY, INC. CONCERNING
13                                                    REDACTION OF EXHIBIT
     HASHFAST TECHNOLOGIES LLC, a
     California limited liability company,
14   HASHFAST LLC, a Delaware limited liability
     company, SIMON BARBER, an individual,
15   and EDUARDO deCASTRO, an individual,
16                       Defendants.
17
            I, Robert Smith, declare as follows:
18
            1.     I make this declaration based on personal knowledge of facts about which I am
19
      competent to testify.
20
            2.     I have been Senior Vice President, Marketing & Business Development for Uniquify,
21
      Inc. since 2011 to the present. My LinkedIn profile with my career history can be found here:
22
      <https://www.linkedin.com/in/robertpsmith>.
23
            3.     I am informed and believe that Defendant, SIMON BARBER is seeking to file a
24
      document with this court which Uniquify considers to be confidential and to include Uniquify’s
25
      proprietary trade secret information, specifically pricing information.
26
            4.     In the course of my duties for Uniquify, I perform brand development, positioning,
27
      strategy and business development activities , including negotiating contracts with clients on behalf
28

      DECLARATION OF ROBERT SMITH - 1                                           Case No. 5:14-cv-00087-EJD
           Case 5:14-cv-00087-EJD Document 77 Filed 04/30/15 Page 2 of 2




 1    of Uniquify, and as a consequence I am aware of competitive variables in such negotiations.

 2          5.      Uniquify’s pricing on specific contracts has always been held to be highly
 3
      confidential and is protected as such. Uniquify has no “price sheet” or generally known pricing
 4
      information that is made available to either the public or to prospective customers, each contract is
 5
      individually negotiated. All bids and contracts are maintained as highly confidential.
 6

 7          6.       The pricing of Uniquify’s services are dependent on a careful balance of various

 8    factors including confidential pricing information and Uniquify derives independent actual

 9    economic value from its pricing not being generally known to the public or to other competitors
10
      who could who can obtain economic value from its disclosure or use.
11
            7.        Should Uniquify’s pricing to Hashfast in the Statement of Work which defendant
12
      seeks to file not be redacted, Unquify’s competitive position in the marketplace will be
13
      compromised, and a valuable trade secret will be lost.
14

15          I certify under penalty of perjury of the laws of the United States and the State of California
16   that the foregoing is true and correct to the best of my knowledge.
17

18          Executed this 28th day of April, 2015, at San Jose, California.
19
20
                                                          __________________________
21                                                        Bob Smith
22

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      DECLARATION OF ROBERT SMITH - 2                                            Case No. 5:14-cv-00087-EJD
